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                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NEW YORK
                           Case No. 1:21-cv-00753-JLS
______________________________________________________________________________

Deborah-Lee Adams, individually and on
behalf of all others similarly situated,
                       Plaintiff,


              - against –

Tops Markets, LLC,

                  Defendant.
______________________________________________________________________________

                                     NOTICE OF MOTION

       PLEASE TAKE NOTICE that for the reasons set forth in the accompanying Memorandum

of Law dated March 14, 2022, Defendant Tops Markets, LLC, will move the United States District

Court, Western District of New York, before United States District Court Judge John L. Sinatra, at the

courthouse located at 2 Niagara Square, Buffalo, New York 14202, for an Order striking the Second

Amended Complaint in its entirety pursuant to Fed. R. Civ. P. 12(f), or, alternatively, dismissing it

pursuant to Fed. R. Civ. P. 12(b)(6), together with such other and further relief as the Court deems

just and proper.

       PLEASE TAKE FURTHER NOTICE that Defendant intends to file and serve a reply in

response to any memorandum in opposition submitted by Plaintiff.
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Dated: March 14, 2022
       New York, New York

                                     Respectfully submitted,

                                     SHOOK HARDY & BACON L.L.P.

                                     /s/ William E. Vita
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Pro Hac Vice Motion Filed or
Forthcoming

Attorneys for Plaintiff
